

Matter of Axel W. (2024 NY Slip Op 06174)





Matter of Axel W.


2024 NY Slip Op 06174


Decided on December 10, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 10, 2024

Before: Renwick, P.J., Friedman, Shulman, Pitt-Burke, Rosado, JJ. 


s. V-5321/22 NN-10771/21 B-01000/23 Case No. 2024-00506 Docket No. V-5321/22, NN-10771/21, B-01000/23 Appeal No. 3225 Case No. 2024-00506 

[*1]In the Matter of Axel W., Jacqueline S. Petitioner-Appellant, Administration for Children's Services and Others, Respondents-Respondents.


Andrew J. Baer, New York, for appellant.
Law Office of Ira L. Eras, P.C., Brooklyn (Ira L. Eras of counsel), for respondents.
Dawne A. Mitchell, The Legal Aid Society, New York (Diane Pazar of counsel), attorney for the child.



Appeal from a corrected order, Family Court, Bronx County (Cynthia Lopez, J.), entered on or about November 30, 2023, which dismissed appellant's petition for custody of the subject child, unanimously dismissed, without costs, as academic.
The appeal from the order dismissing appellant's petition for custody of the child is academic given that the child has been adopted by his foster parents (see Matter of Sandra M. v Che M., 204 AD3d 491 [1st Dept 2022]; Carmen P. v Administration for Children's Servs., 149 AD3d 577 [1st Dept 2017]).
We have reviewed appellant's remaining contentions and find them unavailing.THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 10, 2024








